
*59OPINION.
MobRis:
We have presented for determination the question of value on two parcels of real estate on September 30, 1913, which property was subsequently sold for $35,000. The petitioner asserts that the properties had a fair market value of not less than $70,000 when he inherited them. The respondent has used a valuation of $50,000 as shown by petitioner’s return for 1920, and reduced this value by depreciation on the buildings sustained between September 30, 1913, arid February 6, 1920, the date of sale.
After considering the evidence adduced by the petitioner, we have found as a fact that the two parcels had a fair market value in 1913 of $68,000. This valuation is supported by the testimony showing original costs, the costs of improvements and additions, the sales of less advantageously located properties in the vicinity, and by the testimony of a real-estate broker who was thoroughly conversant with the property throughout the period in question.
The amount of the loss should be recomputed in accordance with the foregoing valuation, due allowance being made for depreciation sustained on the buildings.

Judgment will be entered under Rule 50.

